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Plaint if No. 1815 -LR- D002 2- LIWIATEK,
1M, AND
MARC E. BERLOON, Mo. 1§-/332/-EE

 

 

 

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DEFENDANT. SAARC FE. GERCOONM S fAYOTAON _--OR

 

 

B44 PENDING APPEAL

 

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ase 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 2 of 25

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 3 of 25

 

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 11 of 25

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 13 of 25

 

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 14 of 25

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 17 of 25

 

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 18 of 25

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base 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 19 of 25

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hase 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 20 of 25

 

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base 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 21 of 25

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Case 1:15-cr-00022-LMM-JFK Document 520 Filed 11/04/20 Page 22 of 25

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DATED: CcroBpeER 27, 2ZOZO

Respectfully Submitted,

Sec en yoaRt E. BERCOOA Pos

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